Case 2:17-cv-12764-TGB-RSW ECF No. 40, PageID.777 Filed 02/06/19 Page 1 of 5




                UNITED STATES DISTRICT COURT
          EASTERN DISTRICT OF MICHIGAN (DETROIT)
__________________________________________________________________

BRIAN F. POWELL,                        CASE NO. 2:17-cv-12764-TGB-RSW
          Plaintiff,
                                        Judge Terrence G. Berg
      vs.                               Magistrate Judge R. Steven Whalen

TRANS UNION, LLC,
EQUIFAX INFORMATION
SERVICES, LLC; and
EXPERIAN INFORMATION
SOLUTIONS, INC.,
          Defendants.
 _________________________________________________________________

                 JOINT NOTICE OF SETTLEMENT
__________________________________________________________________

      PLEASE TAKE NOTICE that all matters herein have been compromised and

settled as between Plaintiff Brian F. Powell (“Plaintiff”) and Defendant Trans Union,

LLC (“Trans Union”), the last remaining Defendant. Plaintiff and Trans Union

anticipate submitting a Stipulation And Proposed Order Of Dismissal With Prejudice

shortly, once the settlement is consummated.




                                  Page 1 of 5
Case 2:17-cv-12764-TGB-RSW ECF No. 40, PageID.778 Filed 02/06/19 Page 2 of 5




                                     Respectfully submitted,



Date: February 6, 2019               /s/ Ian B. Lyngklip (with consent)
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                                      Sylvia Bolos, Esq.
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                                     Counsel for Brian F. Powell




                               Page 2 of 5
Case 2:17-cv-12764-TGB-RSW ECF No. 40, PageID.779 Filed 02/06/19 Page 3 of 5




Date: February 6, 2019               /s/ Scott E. Brady
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                               Page 3 of 5
Case 2:17-cv-12764-TGB-RSW ECF No. 40, PageID.780 Filed 02/06/19 Page 4 of 5




                UNITED STATES DISTRICT COURT
          EASTERN DISTRICT OF MICHIGAN (DETROIT)
__________________________________________________________________

BRIAN F. POWELL,                         CASE NO. 2:17-cv-12764-TGB-RSW
          Plaintiff,
                                         Judge Terrence G. Berg
      vs.                                Magistrate Judge R. Steven Whalen

TRANS UNION, LLC,
EQUIFAX INFORMATION
SERVICES, LLC; and
EXPERIAN INFORMATION
SOLUTIONS, INC.,
          Defendants.
__________________________________________________________________

                    CERTIFICATE OF SERVICE
__________________________________________________________________

       I, Scott E. Brady, hereby certify that on the 6th day of February, 2019, I
electronically filed the foregoing with the Clerk of the Court using the ECF systems
which will automatically send notification of such filing to the following counsel of
record:

 Paul B. Mengedoth, Esq.                         Sylvia Bolos, Esq.
 paul@mengedothlaw.com                           Sylviab@michiganconsumerlaw.com
 Ian B. Lyngklip, Esq.
 ian@michiganconsumerlaw.com

       I further certify that on the 6th day of February, 2019, a copy of the foregoing
was sent via U.S., First Class Mail, postage prepaid to the following non-ECF
participants:

 None.




                                   Page 4 of 5
Case 2:17-cv-12764-TGB-RSW ECF No. 40, PageID.781 Filed 02/06/19 Page 5 of 5




                                     Respectfully submitted,


                                     /s/ Scott E. Brady
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                               Page 5 of 5
